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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

Case No.: BK-18-13787-JDL

WILMA JEANNE MORRIS, Chapter 13
DEBTOR.
AFFIDAVIT IN SUPPORT OF
ATTORNEY FEES AND COSTS

 

STATE OF OKLAHOMA )

)

COUNTY OF TULSA )

I state under penalty of perjury on this qlt/\ day of March, 2019, under the laws of

Oklahoma that the following is true and correct.

l. I am a member of the law firm of Baer & Timberlake, P.C. and I arn the attorney for

QUICKEN LOANS INC. (“QUICKEN”) in this matter.

. I represented QUICKEN in this matter throughout the pendency of the matter to the
present. I have personal knowledge concerning the events of representation of
QUICKEN in this matter and make this affidavit based upon my personal knowledge
and belief.

. Baer & Timberlake, P.C. maintains contractual arrangements with its mortgage
servicing clients to provide certain legal services pursuant to industry standard “flat
fee” schedules As such, Affiant and staff do not keep individual daily time records
for these matters. However, detailed and contemporaneous records are maintained of
all actions and tasks undertaken on each flle; Aii`iant and staff are intimately familiar
with the work required to accomplish said actions and tasks for this type of matter,
the amount of time required to complete each; and Affiant and staff record
contemporaneous notes in Baer & Timberlake’s systems documenting all work
completed. Using this knowledge of the work required to accomplish each task, the
amount of time required to complete each task and reviewing the contemporaneous
notes made for each task, Time Reports summarizing the time spent by Baer &
Timberlake, P.C. on this file has been generated and is attached hereto.

. The hourly fee Baer & Timberlake, P.C. charges QUICKEN is $275.00 per hour,
which is reasonable for a firm with more than 50 years of experience with emphasis
in default mortgage servicing. Absent an agreement to the contrary, experienced
attorneys at Baer & Timberlake, P.C. charge $350.00 per hour and staff charges

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$125.00 per hour, which is reasonable for a firm with more than 50 years of
experience with emphasis in default mortgage servicing. The Time Reports attached
hereto as Exhibits “A-l” and “A-Z” to the best of my knowledge and belief and based
upon my experience practicing law (as more fully detailed below), accurately
represents the specific work completed and time required for the services provided by
Baer & Timberlake, P.C. on this matter.

. As set forth in Exhibit “A-l”, Baer & Timberlake, P.C. expended a total of 1.30 hours
in reviewing Debtor’s Plan. All of this time was incurred by Affiant and staff of Baer
& Timberlake, P.C. in reviewing Debtor’s Plan herein. If Baer & Timberlake, P.C.
were to charge its contractual hourly rate of $275.00, the amount charged would be
$357.50. However, if Baer & Timberlake, P.C. did not have an agreement in place
with QUICKEN, and billed at the rates of $350.00 per hour for attorneys and $125.00
per hour for staff, the amount charged would be 3286.25. Per its contractual “flat
fee” arrangement, a fee of $150 was charged and included in the Post Petition Fee
Notice and are is a customary and reasonable charge for the services rendered.

. As set forth in Exhibit “A-2”, Baer & Timberlake, P.C. expended a total of 5.45 hours
in preparing QUICKEN’s Proof of Claim. All of this time was incurred by Baer &
Timberlake, P.C. in preparing QUICKEN’s Proof of Claim. If Baer & Timberlake,
P.C. were to charge its contractual hourly rate of $275.00, the amount charged would
be $l,498.75. However, if Baer & Timberlake, P.C. did not have an agreement in
place with QUICKEN, and billed at the rates of $350.00 per hour for attorneys and
$125.00 per hour for staff, the amount charged would be $895.00. Per its contractual
“flat fee” arrangement, a fee of $750.00 was charged and included in the Post Petition
Fee Notice and is a customary and reasonable charge for the services rendered.

. The hours expended by Baer & Timberlake, P.C. as set forth on the Report (6.75
hours) were reasonable and necessarily incurred in accordance with standards in the
legal community in the state of Oklahoma for work under similar circumstances The
hourly rates are either the contractual rates for QUICKEN or, absent an agreement to
the contrary, the standard rates for the attomey, associate, paralegal and/or staff who
worked for QUICKEN in this case and are reasonable for the services provided given
due eH`ect to the facts and circumstances of the case.

. The case required knowledge in the area of bankruptcy, real property law and
foreclosure The emphasis of Affiant’s practice is bankruptcy, foreclosure, real
property litigation and general litigation. Affiant has been practicing law for
approximately 26 years.

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9. I have had a professional relationship with the client for many years and l have been a
member of the Oklahoma bar since 1992. Since my admission to the bar, l practiced
with Tolle & Parish in Okemah, Oklahoma from 1992 until 2000. Thereafter, I
practiced with Kivell, Rayment & Francis in Tulsa, Oklahoma until March 2003. l
have been a member of Baer & Timberlake, P.C. from March 2003 until the present.

%//M%\

Matthew J. Hudspeth

Further Affiant sayeth not.

